.   ....   I   a       Case 4:18-cv-02344 Document 15 Filed in TXSD on 10/04/18 Page 1 of 1




                       Court Case No.4:18-cv-02344
                   RE: Plaintiff: Siemens Product Lifecycle Management Software Inc
                   Vs. Does 1-107 {defendant #19)
                   Modem MAC-CPE MAC- IP 45.46.48.59- 789684e9b014 -04a151ae3f02
                   Charter Communications, Inc. Case        #   59869
                   CC Via Facsimile        314-909-0609   Notifying Charter
                   Attention: Legal File-Sharing Team
                   September 30, 201 B


                   To: United States District Court, Southern District of Texas


                   I   have received your subpoena tor documents, dated September 14, 2018, in the
                   above referenced matter which is seeking documents related to the specified
                   case.


                   I am writing to file my objection to this order that requests documents,
                   electronically stored information or objects, and I do not permit the
                   inspection, copying, testing or sampling of any of this material. I object on
                   the grounds that my information is private and confidential. No one should
                   have access to it without my permission. The subpoena requests disclosure of
                   privileged, private and confidential information, and I do not give permission
                   to access any part or portion of my information. I further object on the
                   grounds that the subpoena requests vague and or ambiguous information for a
                   span of nearly a year. I object to releasing my information because I did not
                   receive this subpoena within the specified amount of twenty one days of time
                   that I legally have for a response. Responding to this subpoena with legal
                   counsel would create a financial burden to me. PLEASE KEEP MY INFORMATION
                   ANONYMOUS AND CONFIDENtiAL.


                   It is my sincerest belief that I have done nothing wrong and di d not knowingly
                   or intentionally violate any copyright laws or benefit in any form f i nancially
                   or otherwise.


                       #19




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